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                                                                                              District of Columbia




                                          January 28, 2022
     BY CM/ECF

     The Honorable David O. Carter
     Ronald Reagan Federal Building and United States Courthouse
     411 West Fourth Street
     Courtroom 9D
     Sana Ana, CA 92701-4516

            Re:     Eastman v. Thompson, 8:22cv00099

     Dear Judge Carter,

             I write to request permission to appear at the January 31, 2022 status hearing
     virtually.

            Under current COVID conditions, it remains advisable to avoid air travel as much
     as possible. I am in regular contact with family members who are high risk or
     unvaccinated.

             I attended the January 24, 2022 TRO hearing in person due to the substantive
     nature of the hearing. However, the upcoming status will hopefully be shorter and less
     complicated. Under the circumstances, it seems appropriate to attend the status hearing
     virtually rather than incur the COVID risk of additional air travel.

            For these reasons, undersigned counsel respectfuly requests permission to attend
     the January 31 status conference virtually.



                                                          Sincerely,

                                                          /s/ Charles Burnham

                                                          Charles Burnham
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